                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   Case No.: 5:19-cv-00431-D

  CHASE COLBORN,                                       )
                                                       )
          Plaintiff,                                   )
                                                       )
                  V.                                   )
                                                       )
  FOREST GOOD EATS, LLC d/b/a REAL                     )
  MCCOYS; JOHN BENJAMIN THOMAS;                        )
  JONATHAN WISENBAKER,                                 )
                                                       )
          Defendants and Third-Party Plaintiffs,       )
                                                       )
                  V.                                   )
                                                       )
  CNP   ENTERPRISES, LLC, NICOLE                       )
  HUNTER PRIVETTE, RODNEY MCCOY                        )
  PRIVETTE, JR.,                                       )
                                                       )
          Third-Party Defendants.                      )


                ORDER GRANTING JOINT MOTION REQUESTING A STAY OF
  LITIGATION UNTIL JANUARY 4, 2021, TO PERMIT THE PARTIES TO PARTICIPATE
               IN A COURT-HOSTED SETTLEMENT CONFERENCE


       This matter having come before this Court on the Parties' Joint Motion Requesting a Stay

of Litigation Until January 4, 2021, which includes a stay of any deadlines and/or the beginning

of formal discovery; and that within seven (7) days of the date that the stay lifted, the Parties shall

either submit a notice informing the Court that the matter has been resolved or, if the matter is not

resolved through mediation, that the Parties submit a proposed 26(-f) Report and resume litigation.

       It appearing to this Court that good cause exists for the granting of said motion; that said

motion be allowed; and that the motion should be GRANTED.




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IT IS THEREFORE ORDERED that this case is STAYED~ii f     ,J';.n v ~ 4 1 A. O2. /.
IT IS SO ORDERED. This the ___s__ day of November 2020.




                                   I ED STATES DISTRICT TTJDGE




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